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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF LOUISIANA
                                     LAFAYETTE DIVISION

   THE STATE OF ARIZONA, By and through
   its Attorney General,
   MARK BRNOVICH; et al.,

                                       PLAINTIFFS,

          v.                                                 CIVIL ACTION NO. 6:22-cv-01130

   MERRICK GARLAND in his official capacity
   as Attorney General of the United States of
   America; et al.,

                                     DEFENDANTS.


                                         STATUS REPORT

         Pursuant to the Court’s November 21, 2022, Order (Dkt. 88), the parties submit this status

  report. The parties met-and-conferred telephonically on November 30, 2022, but were unable to

  reach an agreement regarding the need for and scope of jurisdictional discovery.

                                         STATES’ POSITION

         At a May 18, 2022, hearing regarding Defendants’ Motion to Transfer, the Court ex-

  pressed concern with the States’ standing to seek a preliminary injunction. Dkt. 25 at 73:1-4. The

  Court explained:

         As I mentioned to states counsel, they have asserted their standing is based essen-
         tially on the likelihood that this change in the process of adjudicating asylum claims
         will lead to an increase in illegal immigration. The Court needs more before it pro-
         ceeds with a preliminary injunction.

         Given that the states contend, number one, that the challenges to the asylum process
         will lead to more immigrants being granted asylum, and two, that these changes are
         contrary to law, the Court orders the parties to engage in a 30-day period of limited
         discovery as to [1] the likely effect this change will have on the number of immi-
         grants granted asylum, residing in the plaintiff states, and [2] the costs or other


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         measurable effect these additional persons, which again the states contend have
         been illegally granted asylum, will have on the plaintiff states.

  Dkt. 25 at 73:5-18. The Court accordingly ordered limited jurisdictional discovery. Dkt. 24. The

  States subsequently withdrew their request for injunctive relief, and both parties withdrew all out-

  standing discovery requests. Dkt. 76.

         Since the May hearing, the posture of this case has changed in three significant ways: (1)

  As noted above, Plaintiffs are no longer seeking a preliminary injunction, Dkt. 76, and thus there

  is no need for discovery in conjunction with issues raised by their motion for a preliminary injunc-

  tion, (2) Defendants now possess actual implementation data from their rollout of the Asylum Rule

  “in specific locations” involving only “a few hundred applications a month,” Dkt. 25 at 50:10 –

  51:10, which could conclusively resolve the Article III standing inquiry, and indeed may render a

  12(b)(1) motion by Defendants beyond the bounds of Rule 11 after they conduct a reasonable

  investigation of their own data, and (3) Fifth Circuit precedents regarding Article III standing for

  States in the immigration context has become even more favorable, see Texas v. United States, 40

  F.4th 205 (5th Cir. July 6 2022).

         In view of the changed posture, the States oppose any jurisdictional discovery before Fed-

  eral Defendants have filed their Rule 12(b) motion or answer. Before Defendants file such a Rule

  12(b) motion, they would be required to make a reasonable investigation of the data that they

  possess and what arguments that they can tenably advance in light of that investigation. Defendants

  should not be permitted to take discovery into topics that, after a reasonable investigation of their

  own data, they know that they will be unable to advance a standing argument related to it. See Fed.

  R. Civ. P. 26(b)(2)(C)(i) (requiring protection if discovery “can be obtained from some other

  source that is more convenient, less burdensome, or less expensive”).




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         As DOJ argues in innumerable other APA cases, discovery in APA cases is rare. More

  generally, pre-Rule 12(b)-motion discovery is nearly unprecedented. The Federal Rules “do[] not

  unlock the doors of discovery for a plaintiff armed with nothing more than conclusions.” Ashcroft

  v. Iqbal, 556 U.S. 662, 678-79 (2009). But Defendants are seeking something even more aberra-

  tional: being able to take discovery without even needing to advance bare conclusions in a Rule

  12(b) motion.

         At the November 30 meet-and-confer, it became apparent that counsel for Defendants have

  not yet investigated what data that DHS and DOJ possess regarding the location of asylees, includ-

  ing whether Defendants have GPS data for where those asylees are residing from ankle monitors

  required by Defendants themselves. Defendants’ insistence upon proceeding with jurisdictional

  discovery without first investigating whether discovery is warranted in light of data in its own

  possession suggests Defendants are merely seeking to impose burdens upon Plaintiff States

  through intrusive discovery into questions for which Defendants already possess answers.

         The States therefore propose that Defendants should proceed with filing an answer or Rule

  12(b) motion, and the parties can then evaluate whether jurisdictional discovery is warranted based

  on that filing, and meet-and-confer as appropriate. But the proposition that Defendants require

  discovery before they can even file a Rule 12(b) motion is essentially a contradiction in terms.

  Rule 12(b) motions are typically resolved before discovery begins, rather than discovery being

  conducted and concluded before a responsive pleading is ever filed.

                                       DEFENDANTS’ POSITION

         Defendants respectfully request an opportunity to complete discovery related to Plaintiffs’

  standing to bring this suit before responding to the Second Amended Complaint. As explained

  further below, there is good cause for this request because (1) the Court already granted Defendants



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  such discovery, (2) that discovery was not yet completed only because Plaintiffs asked Defendants

  to withdraw their pending discovery requests to allow Plaintiffs to amend their complaint a second

  time, which Defendants agreed to only on the condition that the withdrawal was without prejudice

  to re-serving the requests before responding to the second amended complaint, (3) Defendants

  already responded to jurisdictional discovery from Plaintiffs, who had the benefit of that discovery

  in drafting their second amended complaint, and Defendants should have a similar opportunity

  before responding to the complaint, and (4) discovery into Plaintiffs’ allegations of harm and

  standing will be necessary at some point in this case, and proceeding with that discovery now is

  the most efficient way for this case to proceed because the merits of APA claims are reviewed

  based on an administrative record rather than some later period of discovery.

         On May 18, 2022, the Court ordered a period of limited reciprocal discovery as to Plain-

  tiffs’ Article III standing. ECF No. 24 at 1. The Court had noted that “a lot of the work that the

  states need to do may be internal with state agencies to figure out what the costs are of people who

  have been granted asylum residing in their states.” May 18 Hr’g Tr. at 81; see also id at 78.

         The Parties subsequently served discovery requests on each other. On May 27, 2022, Plain-

  tiffs served Interrogatories, Requests for Production, and Requests for Admission on Defendants.

  On June 17, 2022, Defendants responded to those requests and produced responsive documents.

  In addition to responding to 29 interrogatories1 and 15 requests for admission, Defendants pro-

  duced several thousand pages of documents in response to requests for production. And this doc-

  ument production was in addition to the 14,952-page Administrative Record Defendants compiled

  and provided to Plaintiffs.



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           Plaintiffs numbered their interrogatories 1through 10, but one of their interrogatories
  included 20 discrete subparts. See Fed. R. Civ. P. 33(a)(1) (noting “discrete subparts” of inter-
  rogatories are counted separately towards the 25 limit).
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            During the same time period, on June 6 and 7, 2022, Defendants served Interrogatories,

  Requests for Production, Requests for Admission, and deposition notices on Plaintiffs. Plaintiffs

  requested additional time to respond to those requests, and ultimately never responded because

  they informed Defendants that they intended to file a Second Amended Complaint and asked that

  the outstanding discovery be postponed until that filing. Based on the Parties’ discussions, De-

  fendants understood that Plaintiffs would clarify and narrow their allegations with respect to injury

  and standing in their Second Amended Complaint. Accordingly, on July 20, 2022, the Parties filed

  a Joint Status Report noting that Plaintiffs intended to file a Second Amended Complaint and that

  “all outstanding discovery requests are withdrawn without prejudice to propounding such requests

  in the future.” ECF No. 76 at 1. As a result, although the Court ordered reciprocal discovery with

  respect to standing, Plaintiffs have had an opportunity to obtain discovery while Defendants have

  not. Defendants noted in the Joint Status Report that they anticipated that they would “need to

  complete jurisdictional discovery related to potential motions under Rule 12(b)(1) before respond-

  ing to the Second Amended Complaint.” Id.; see also ECF No. 79 (approving the Parties’ pro-

  posal).

            Plaintiffs subsequently requested several extensions before filing their Second Amended

  Complaint on November 10, 2022. See ECF Nos. 80, 85, 86. Despite the expectation that Plaintiffs

  would narrow and clarify their allegations of harm in the amended complaint, the second amended

  complaint largely tracks their earlier filings. Compare ECF Nos. 1, 14, 86.

            Defendants respectfully request that the Court allow Defendants to serve updated discovery

  requests with respect to Plaintiffs’ standing to bring this suit and complete that discovery before

  responding to the Second Amended Complaint. Such discovery is appropriate where, as here, De-

  fendants anticipate raising a factual attack on the allegations of standing in the complaint. See, e.g.,



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  Rick v. Women’s & Children’s Hosp., No. CIV.A.08-2013, 2010 WL 2360703, at *2 (W.D. La.

  May 10, 2010) (considering “plaintiffs’ discovery responses” in evaluating “factual attack” on

  jurisdiction). And it is particularly appropriate because Plaintiffs already had an opportunity to

  request and receive discovery from Defendants, but Defendants have not yet had such an oppor-

  tunity. Defendants would not have agreed to Plaintiffs’ request to withdraw the earlier discovery

  requests so they could amend their complaint if Plaintiffs had not agreed that the withdrawal “was

  without prejudice to propounding such requests in the future.” ECF No. 76 at 1.

         Plaintiffs’ contrary arguments lack merit. They argue that discovery before a response to

  the complaint is improper. But Plaintiffs already obtained extensive discovery from Defendants

  before the currently operative complaint was even filed. Plaintiffs also moved for even more dis-

  covery from Defendants after they withdrew their motion for preliminary injunction but before

  they filed their amended complaint. See ECF No. 82. Allowing jurisdictional discovery prior to

  responding to the complaint would also put this case on a similar track to the one other case chal-

  lenging the same rule. See Order, Texas v. Mayorkas, No. 2:22-cv-94 (Nov. 7, 2022) (granting

  Defendants until January 2023 to complete jurisdictional discovery before responding to plaintiff’s

  complaint).

         Plaintiffs also argue that discovery should be denied because this is an APA case. While

  Defendants agree that the merits of an APA case must be resolved based on an administrative

  record, Plaintiffs still must separately put forward evidence of some harm sufficient to invoke the

  Court’s jurisdiction. See, e.g., Louisiana Crawfish Producers Ass’n v. Mallard Basin, Inc., No.

  6:10-CV-1085, 2019 WL 171693, at *3 (W.D. La. Jan. 10, 2019) (“Extra-record evidence may

  also be allowed to determine whether plaintiffs can satisfy a jurisdictional prerequisite, such

  as standing.”). Plaintiffs attempt to flip the burden onto Defendants to figure out whether there is



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  support for any of their allegations of standing, but under Fifth Circuit precedent the burden con-

  tinues to remain on “[t]he States” who “must establish by a preponderance of the evidence an

  injury that is concrete, particularized, and actual or imminent; fairly traceable to the challenged

  action; and redressable by a favorable ruling.” Texas v. United States, 40 F.4th 205, 216 (5th Cir.

  2022) (quotation marks and citation omitted).2 Plaintiffs took a kitchen-sink approach to standing,

  throwing everything against the wall in hopes that something would stick. The amended complaint

  lists various State agencies in 20 separate States and raises wholly speculative harms on behalf of

  each, see ECF No. 86 at ¶¶ 74-129, while Plaintiffs all but concede that they currently have no

  idea whether any of these allegations are true or sufficient to invoke the Court’s jurisdiction, see

  ECF No. 82 at 1 (arguing Plaintiffs need discovery from the government in order to “shed light on

  the States’ injuries”); ECF No 82-1 at 2 (noting that Plaintiffs “would seriously consider dismiss-

  ing this suit” if Defendants cannot provide them evidence that they have been harmed). Defendants

  should have an opportunity to examine whether Plaintiffs have the required “good faith basis” for

  their allegations of harm and what that basis is before asking the Court to resolve the question of

  the States’ standing. Advanced Data Access LLC v. Nanya Tech. Corp., No. 6:11-cv-473, 2012

  WL 10873894, at *3 (E.D. Tex. Apr. 24, 2012), report and recommendation adopted, 2012 WL

  10889455 (E.D. Tex. June 11, 2012); see also Turner v. ILG Techs., LLC, No. 2:21-cv-04192,

  2022 WL 4543209, at *14 (W.D. Mo. Sept. 28, 2022) (explaining that party filing complaint must

  first conduct a reasonable inquiry and be able to certify that the factual contentions have eviden-

  tiary support).



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            To the extent Plaintiffs cite Texas v. United States as supporting a more permissive view
  of standing, Defendants note that the Supreme Court granted certiorari in that case and specifi-
  cally directed the parties to brief “[w]hether the state plaintiffs have Article III standing” to raise
  APA challenges to Department of Homeland Security actions. United States v. Texas, No. 22A17
  (22-58), 2022 WL 2841804, at *1 (U.S. July 21, 2022).
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         Plaintiffs argue that responding to discovery will be burdensome. This assertion is in ten-

  sion with their arguments that Defendants, rather than Plaintiffs, have the only relevant evidence.

  If Defendants request the evidence Plaintiffs have that supports their allegations of harm and Plain-

  tiffs’ response is that they have no evidence beyond what might be in the Federal Government’s

  possession, that answer will be useful in defining the universe of evidence on which Plaintiffs’

  standing should be assessed, and Plaintiffs have never explained how doing so would be burden-

  some. Moreover, to the extent there is any burden, Defendants have repeatedly offered to confer

  and for Plaintiffs to limit their standing assertions to four or less representative States to ease the

  burden on the Parties and the Court in resolving this question. Plaintiffs have refused to do so,

  including in the Parties’ conferrals this past week.

         Before this case can be resolved on the merits, Plaintiffs will have to clarify what precisely

  their harm is, and meet their burden of proof to show an actual, concrete injury they can trace to

  the challenged rule. Because this is an APA case, and “when a party seeks review of agency action

  under the APA, the district judge sits as an appellate tribunal,” review of the merits of the claims

  will otherwise be based solely on the administrative record. Am. Bioscience, Inc. v. Thompson, 269

  F.3d 1077, 1083 (D.C. Cir. 2001). Since the merits of APA claims will be assessed on the admin-

  istrative record alone rather than following some later period of discovery, in an APA case where

  standing is in dispute it makes sense to resolve the standing question and any discovery necessary

  to resolution of that question before the case proceeds any further.




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  Dated: December 2, 2022                   Respectfully submitted,

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         Dated: December 2, 2022             Respectfully submitted,

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